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Raines Feldman Littrell LLP/Adam Investigations Counsel – Privilege Log re Workplace Investigation: Lively v. Wayfarer Studios et al.

Category Date range                  Document type        Sender(s)/        Category Description              Primary Justiﬁcation
                                                          Recipient(s)/
                                                          Copies
1          December 24, 2024 -       Correspondence       Wayfarer,         Communications regarding          Wayfarer’s Attorney-
           January 2025                                   Raines, Adam      engagement and engagement         Client Privilege
                                                                            letters with Investigators
2          December 24, 2024 –       Various documents    Wayfarer,         Communications by Wayfarer        Wayfarer’s Attorney-
           June 2025 (ongoing)                            Raines, Adam      to Investigators to assist with   Client Privilege;
                                                                            Investigation                     Investigators’ (attorney)
                                                                                                              Work Product
3          January 2025 – June       Notes, summaries,    N/A               Documents prepared by, or         Wayfarer’s Attorney-
           2025 (ongoing)            plans of action,                       obtained by, Investigators as     Client Privilege and Work
                                     various documents                      part of the Investigation         Product
                                                                                                              Investigators’ (attorney)
                                                                                                              Work Product
4          January 2025 – June       Various documents    Raines, Adam,     Documents generated by or at      Wayfarer’s Attorney-
           2025 (ongoing)                                 various third-    the request of Investigators      Client Privilege and Work
                                                          party witnesses   relating to witness interviews    Product
                                                          and/or their                                        Investigators’ (attorney)
                                                          counsel                                             Work Product
5          January 2025 – June       Communications       Wayfarer,         Investigators’ communications     Wayfarer’s Attorney-
           2025 (ongoing)                                 Raines, Adam      with Wayfarer re status of        Client Privilege and Work
                                                                            investigation and additional      Product
                                                                            questions                         Investigators’ Work
                                                                                                              Product
6          December 24, 2024 –       Communications       Raines, Adam      Communications between            Wayfarer’s Attorney-
           June 2025 (ongoing)                                              Investigators relating to the     Client Privilege and Work
                                                                            Investigation                     Product
                                                                                                              Investigators’ (attorney)
                                                                                                              Work Product
